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           THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

UNITED STATES OF AMERICA                        UNDER SEAL

v.                                              Case No. 4:18cr76-RH/EMT

JOHN THOMAS BURNETTE,

               Defendant.

_______________________________/

              GOVERNMENT’S SEALED MOTION IN LIMINE
               TO EXCLUDE “REVERSE” 404(b) EVIDNCE

      The United States of America, by and through undersigned counsel,

respectfully moves the Court to exclude the “reverse” 404(b) evidence (the “Reverse

404(b) Evidence”) noticed by the defendant John Thomas Burnette (“Burnette” or

“the defendant”). On June 1, 2021, the defendant provided notice, for the first time,

that he intended to introduce evidence of



                   This evidence was already the subject of a motion in limine by

the government, which this Court granted, in relevant part. ECF No. 263, 265.

      As detailed below, the court has already analyzed the admissibility of this

evidence and excluded it, except for proper uses in cross examination. Nevertheless,

the Reverse 404(b) Evidence should be excluded despite the defendant’s renewed

attempt to admit it because (1) the admission of the extrinsic impeachment evidence
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proposed by the defendant would create several mini-trials which would waste the

time of the jury, confuse the issues, and mislead the jury; (2) the Reverse 404(b)

Evidence is a textbook example of impeachment by extrinsic evidence, prohibited

by Federal Rule of Evidence 608(b); and (3) the Reverse 404(b) Evidence is a thinly-

veiled attempt to backdoor in an argument that the defendant is a victim of selective

prosecution, a legal defense the defendant has not asserted, has disclaimed, and for

which there is no support. See ECF No. 263 at 11-12.

      The central question is not whether the defendant can conduct a vigorous

cross-examination of                            or any government witness on any

issue relevant to their credibility. The government has not sought to categorically

exclude cross examination on the Reverse 404(b) Evidence and the Court has not

prohibited such cross examination. ECF No. 263 at 17; ECF No. 265 at 2. The

central question is whether the defendant is entitled to waste the jury’s time and

confuse the issues by presenting witnesses to testify about the Reverse 404(b)

Evidence. Under the rules of evidence and this Court’s rulings, the answer is no.

I.    FACTS

      On May 28, 2020, the government filed a Sealed Motion in Limine to Exclude

Improper Defense Witnesses. ECF No. 263. The government moved to exclude the

testimony of several witnesses, including the five witnesses the defendant now seeks

to call in his case in chief:


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that:

               Unless authorized on a request made outside the jury’s
               hearing, these must not be mentioned in the jury’s hearing
               or suggested to the jury in any way: investigations or
               events related to transactions not involving the defendant
               John Thomas Burnette. But this does not limit cross-
               examination of codefendants; this order makes no ruling
               one way or the other on the permissible scope of cross-
               examination of codefendants on transactions not involving
               Mr. Burnette.

ECF No. 265 at 2.

II.      LEGAL ANALYSIS

         The present issue before the Court is not the proper scope of cross

examination of                                  . The government has recognized that




                                                            ECF No. 263 at 17. This

Court’s order does not prohibit the defendant from cross examining

                about the Reverse 404(b) Evidence. ECF No. 265 at 2.

         The present issue is whether the defendant is entitled to present cumulative,

confusing, misleading and time-wasting evidence in the form of testimony from the

witnesses listed above about

                                                                            Mot. at 12.


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The defendant is not entitled to do so—the Rules of Evidence are designed to avoid

precisely this type of mini-trial sideshow on collateral issues that the defendant

intends to conduct in his case in chief.

      Extrinsic evidence about the Reverse 404(b) Evidence should be excluded for

several reasons. First, it is not what is contemplated by what the Eleventh Circuit

has described as “reverse” 404(b) evidence but truly an acknowledgement that

defendants should be allowed broad cross examination of cooperating government

witnesses. Second, it should be excluded under Rule 403 because of the significant

dangers of waste of time, confusion of the issues, and misleading he jury. Third, it

is prohibited impeachment by extrinsic evidence. Finally, this evidence should be

excluded as an improper attempt to sneak in through the back door evidence of

selective prosecution without meeting the evidentiary predicate.

      A.     “Reverse” 404(b) evidence is intended as broad impeachment, not
             a litany of witnesses testifying to a witness’s prior acts.

      The defendant motion relies exclusively on the concept of “reverse” 404(b)

evidence as a separate category of evidence that opens the flood gates to a defense

predicated on putting a government cooperator on trial for “prior bad acts.” Mot. at

10-12. In doing so, the defendant relies heavily on United States v. Cohen, 888 F.2d

770, 775 (11th Cir. 1989), but “what the defendants are characterizing as a defense,

is nothing more than the admission of evidence to impeach a government witness

who, obviously to gain grace with the government, colors his testimony to magnify

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                                      The Eleventh Circuit has distinguished Cohen

where “the jury that convicted the [the defendant] was fully aware that the

[defendant’s] co-conspirators . . . had committed prior fraudulent acts over an

extended period of time.” United States v. Colwell, 140 F. App’x 64, 73 (11th Cir.

2005). The court found persuasive that “[t]he existence of the prior frauds by [the

cooperating witnesses] was elicited during direct examination by the government,

and the district court permitted the defendants to confirm that the prior fraudulent

activities that the [cooperating witnesses] admitted to involved the same sort of

activity at issue in this case.” Id. This case is analogous.




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      B.    The Reverse 404(b) Evidence is inadmissible under Rule 403.

      The defendant’s Reverse 404(b) Evidence falls within two categories:




                                . Both of these categories of the Reverse 404(b)

Evidence should be excluded under Federal Rule of Evidence 403.

      The first category of evidence, relating to




                               . The government has not sought to preclude the

defendant from questioning




      Even if it did, the minimal probative value would be significantly outweighed

by the dangers of wasting the jury’s time, the needless presentation of cumulative

evidence, confusing the issues, and misleading the jury, and so should be excluded

under Rule 403.


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      The rest of the Reverse 404(b) Evidence falls in the second category.




            Regarding these facts, should the defendant question

      about these facts and the witnesses deny them, the defendant is “stuck with

the answer” under Federal Rule of Evidence 608(b), discussed below, but any

additional extrinsic evidence should also be excluded under Rule 403. Allowing the

defendant to present testimony from

does nothing more than create multiple mini-trials regarding what occurred with

these people and whether what happened was criminal or otherwise relevant to the

witnesses’ credibility. Avoiding this sideshow is precisely the purpose of Rule

403—avoiding needless wastes of the jury’s time on issues that they need not

consider.

      The defendant may expect that                                may admit the

conduct described in the Reverse 404(b) Evidence but deny that this conduct

constitutes a crime or is otherwise improper. The defendant has made reference in

another motion to

                           . See ECF No. 334 at 3.


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                                    Not only would this waste the jury’s time, but it

would completely confuse the issues and mislead the jury into thinking they need to

adjudicate whether other conduct by                                constitutes a crime.

This is precisely the kind of evidence Rule 403 is intended to exclude.

      C.     The Reverse 404(b) Evidence is inadmissible under Rule 608(b).

      As is more fully discussed in the government’s Motion In Limine to Exclude

Improper Defense Witnesses, Federal Rule of Evidence 608(b), provides that “the

court may, on cross-examination, allow [specific instances of conduct] to be

inquired into if they are probative of the character for truthfulness or untruthfulness


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       In the government’s motion to exclude this evidence, it stated that




                                             ECF No. 263 at 14. After reading the

defendant’s motion, the government need not anticipate the defendant’s intent. He

is clear that his intent is to impeach                           in a manner prohibited

by the Rules of Evidence. The Reverse 404(b) Evidence should therefore be

excluded under Rule 608(b).

       D.     The defendant is attempting to sneak in an argument of selective
              prosecution.

       The government expects that the defendant’s true purpose in offering this

“reverse” 404(b) is to argue to the jury, explicitly or implicitly, that the defendant is

being treated unfairly because he was charged in this case but other bribe payors

were not. Indeed, the defendant states that his Reverse 404(b) evidence is necessary

to “cast the story told by the prosecution in a significantly different light.” Mot. at

12. This is improper. The defendant has already represented to the government that

he does not intend to present a defense of selective prosecution, nor could he. There

is no basis for the legal defense of selective prosecution. See ECF No. 263 at 11-12.

       Even if there was such a basis, it is well-settled that claims of selective

prosecution are legal arguments not proper for the jury’s consideration. “A selective-

prosecution claim is not a defense on the merits to the criminal charge itself, but an

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independent assertion that the prosecutor has brought the charge for reasons

forbidden by the Constitution.” United States v. Armstrong, 517 U.S. 456, 463

(1996). Accordingly, “[t]he selective prosecution defense is an issue for the court

to decide, not an issue for the jury.” United States v. Jones, 52 F.3d 924, 927 (11th

Cir. 1995); see also United States v. Jennings, 991 F.2d 725, 730 (11th Cir. 1993).

In other words, because “[s]elective prosecution has no bearing on the determination

of factual guilt,” such a claim must “be raised by pretrial motion” and not presented

to the jury. United States v. Scrushy, 721 F.3d 1288, 1305 (11th Cir. 2011).

      The defendant has not raised the legal defense of selective prosecution, and

even if he did, he could not show any improper conduct by the government in

charging the defendant but not charging other bribe payors.




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III.    CONCLUSION

        For the reasons stated here, the Government respectfully requests that this

Court exclude the defendant’s noticed Reverse 404(b) Evidence.

                          Respectfully submitted on June 18, 2021.

 LAWRENCE KEEFE                            COREY R. AMUNDSON
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                             CERTIFICATEOF SERVICE

      I HEREBY CERTIFY that a copy of this motion has been filed via the

CM/ECF filing system on June 18, 2021, and thereby has been provided to counsel

for defendant Burnette.

                                     /s/ Peter M. Nothstein
                                     Peter N. Nothstein
                                     Deputy Chief


                      CERTIFICATE OF CONFERENCE

      I HEREBY CERTIFY that counsel for defendant Burnette has indicated that

he objects to this Motion.

                                     /s/ Peter M. Nothstein
                                     Peter N. Nothstein
                                     Deputy Chief


                     LOCAL RULE 7.1(F) CERTIFICATE

      I HEREBY CERTIFY that, in accordance with NDFL Local Rule 7.1(F),

this motion does not exceed 8,000 words.

                                     /s/ Peter M. Nothstein
                                     Peter M. Nothstein
                                     Deputy Chief




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